                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                       CRIMINAL NO. 3:17-CR-134-17-FDW-DSC


 UNITED STATES OF AMERICA,                         )
                                                   )
                                                   )
                                                   )                    ORDER
 v.                                                )
                                                   )
 JAMES WALTER DOWDLE,                              )
                                                   )
                  Defendant.                       )



         THIS MATTER is before the Court on defense counsel Derrick R. Bailey’s “Notice of

Unavailability” (doc. 1264) filed on March 16, 2018. The Court contacted Mr. Bailey and the

Government by email to address the issues raised in the “Notice.” Counsel responded to chambers

staff by email. Based upon the Court’s projections at today’s status hearing and the Government’s

representations, it does not appear that this Defendant will be scheduled for trial before July at the

earliest. Therefore counsel’s status does not need to be addressed further at this stage of the

proceedings. Mr. Bailey is directed to advise the Court if his circumstances warrant further review

in the future.


         The Clerk is directed to send copies of this Order to counsel for Defendant and the

Government, and to the Honorable Frank D. Whitney.


         SO ORDERED.

                                      Signed: March 19, 2018




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